

People v Williams (2023 NY Slip Op 05195)





People v Williams


2023 NY Slip Op 05195


Decided on October 12, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 12, 2023

Before: Webber, J.P., Kern, Singh, Scarpulla, Rosado, JJ. 


Ind. No. 221/20 Appeal No. 767 Case No. 2021-04599 

[*1]The People of the State of New York, Respondent,
vAlexia Williams, Defendant-Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (Jennifer R. Kline of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Alex King of counsel), for respondent.



Judgment, Supreme Court, New York County (Felicia A. Mennin, J.), rendered November 16, 2021, convicting defendant, upon her plea of guilty, of assault in the second degree, and sentencing her to a term of four months and five years' probation, unanimously reversed, on the law, the plea vacated, and the matter remanded for further proceedings.
The trial court failed to determine defendant's understanding and waiver of her right to present a defense of justification after defendant stated, during the plea colloquy, "I had to defend myself" and "I wasn't just the aggressor in the situation" (see People v Muniz-Cayetano, 186 AD3d 1169, 1171-1172 [1st Dept 2020], lv denied 36 NY3d 1052 [2021]). The People concede that the particulars of this case are indistinguishable from those of Muniz-Cayetano and that defendant's guilty plea should be vacated.
Given the above, we need not consider defendant's other arguments. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 12, 2023








